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 7
 8                              UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11                                                   )   Case No.: 5:15-CV-01700-ODW-DTB
     Samuel Love,                                    )
12                                                   )   NOTICE OF LODGING PLAINTIFF’S
                Plaintiff,
                                                     )   AMENDED PROPOSED FINDINGS OF
13      v.                                               FACT AND CONCLUSIONS OF LAW
                                                     )
14   Jose M. Sanchez;                                )
     Maria B. Sanchez; and Does 1-10,                )
15                                                        Final Pretrial Conference: December 19, 2016
                Defendants.                          )   Time: 1:30 p.m.
16                                                   )
                                                     )       Complaint Filed: August 24, 2015
17
                                                     )       Trial Date: December 13, 2016
18                                                   )
                                                     )
19                                                   )       Honorable Judge Otis D. Wright, II
20                                                   )

21
             Please take notice that Plaintiff hereby lodges the Plaintiff’s Amended Proposed
22
     Findings of Fact and Conclusions of Law
23
24
     Dated: December 26, 2016                  CENTER FOR DISABILITY ACCESS
25
26
                                               By:           /s/ Chris Carson
27
                                                     CHRIS CARSON
28                                                   Attorneys for Plaintiff

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     Notice of Lodging                                               Case #: 5:15-CV-01700-ODW-DTB
